                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                       No. 5:24-cv-724-M

JEFFERSON GRIFFIN,                               )
                                                 )
                        Petitioner,              )
                                                 )
                        v.                       )
                                                 )
NORTH CAROLINA STATE BOARD OF                    )
ELECTIONS,                                       )
                                                 )
                        Respondent.              )

         PETITIONER’S MOTION FOR TEMPORARY RESTRAINING ORDER

        For the reasons set forth in the accompanying Memorandum, Petitioner Judge Jefferson

Griffin respectfully requests that this Court enter a temporary restraining order prohibiting

Respondent from certifying the election results for the November 2024 general election for Seat 6

of the North Carolina Supreme Court.

        Immediately prior to filing this motion with the Court, Petitioner conferred with

Respondent regarding whether it would consent to stay certification of the election results pending

resolution of these judicial proceedings. As of the time of filing, Respondent had not responded

to that request.




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Dated: December 20, 2024                      Respectfully submitted,

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*Local Rule 83.1(d) special appearance
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2024, I electronically filed the foregoing Petitioner’s

Memorandum in Support of His Motion For Temporary Restraining Order with the Clerk of Court

using the CM/ECF system, which will send notification of such filing to the Respondent, the North

Carolina State Board of Elections.


                                                 /s/ Mark M. Rothrock
                                                 Mark M. Rothrock




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